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✎ PS 8
(3/15)


                               UNITED STATES DISTRICT COURT
                                                                       for
                                              Eastern District of Washington


U.S.A. vs.                   Gourneau, Nichole M.                                      Docket No.              2:15CR00144-SMJ-15


                                 Petition for Action on Conditions of Pretrial Release

        COMES NOW Erik B. Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Nichole M. Gourneau, who was placed under pretrial release supervision by the Honorable U.S. Magistrate
Judge John T. Rodgers, sitting in the Court at Spokane, Washington, on the 13th day of January 2016, and again on the 20th
day of January 2016, under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C.    802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless or whether Defendant has been authorized medical marijuana
under state law.

Special Condition #27: Prohibited Substance Testing: If random urinalysis testing acceptable to Pretrial Services is not done
through a treatment program, random urinalysis testing shall be conducted through Pretrial Services, and shall not exceed
six (6) times per month. Defendant shall submit to any method of testing required by the Pretrial Service Office for
determining whether the Defendant is using a prohibited substance. Such methods may be used with random frequency and
include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance
testing or screening. Defendant shall refrain from obstructing or tamper, in any fashion, with the efficiency and accuracy
of prohibited substance testing.

   RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                     (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: The defendant tested positive for the presence of hydromorphone and morphine on March 14, 2017.

Violation #2: The defendant failed to report for random drug testing on March 13, 2017; April 13, 2017; April 25, 2017;
and April 26, 2017.

                             PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                                          I declare under the penalty of perjury
                                                                                          that the foregoing is true and correct.
                                                                                          Executed on:        May 12, 2017
                                                                              by          s/Erik Carlson
                                                                                          Erik Carlson
                                                                                          U.S. Pretrial Services Officer
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THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[x]      The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                      Signature of Judicial Officer

                                                                         May 15, 2017
                                                                      Date
